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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
HENRY G. HOBBS, JR.
ACTING UNITED STATES TRUSTEE
REGION 7, SOUTHERN and WESTERN DISTRICTS OF TEXAS
HECTOR DURAN
TRIAL ATTORNEY
515 Rusk, Suite 3516
Houston, Texas 77002
Telephone: (713) 718-4650 x 241
Fax: (713) 718-4670
                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                    §      CASE NO.
                                          §
GARDEN OAKS MAINTENANCE                   §      18-60018 (DRJ)
ORGANIZATION, INC.                        §      (Chapter 11)
                                          §
       DEBTORS                            §

                        NOTICE OF APPOINTMENT OF
                     COMMITTEE OF UNSECURED CREDITORS

TO THE HONORABLE DAVID R. JONES
UNITED STATES BANKRUPTCY JUDGE:

       COMES NOW Henry G. Hobbs, Jr., the Acting United States Trustee for Region 7, by and
through the undersigned counsel, who pursuant to 11 U.S.C. § 1102(a)(1) hereby appoints the
following eligible creditors to the Committee of Unsecured Creditors in this case:

                  Members                                  Counsel for Member
 1. Peter Shun-Hsien Chang
    1326 Sue Barnett Drive
    Houston, TX 77018
    Tel. 832-876-7945
    E-Mail: hygog0079@yahoo.com
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 2. Cheryl Luck
    810 Azalea Street
    Houston, TX 77018
    Tel. 713-408-9949
    E-Mail: cheryl.luckspaces@gmail.com
 3. Patricia Mehrkam
    1082 Gardenia
    Houston, TX 77018
    Tel. 832-693-4301
    E-Mail: standrewsepiscopal@hotmail.com
 4. Gary C. Ingram
    14027 Memorial Drive, Suite 258
    Houston, TX 77079
    Tel. 832-217-0170
    E-Mail: ingram.gary@gmail.com
 5. Susanna Schmidt
    733 W. 38th Street
    Houston, TX 77018
    Tel. 832-563-3402
    E-Mail: sueschmidt1@comcast.net

Dated: May 31, 2018                       Respectfully Submitted,

                                          HENRY G. HOBBS, JR.
                                          ACTING UNITED STATES TRUSTEE
                                          REGION 7, SOUTHERN and WESTERN
                                          DISTRICTS OF TEXAS

                                          By:    /s/ Hector Duran
                                                 Hector Duran
                                                 Trial Attorney
                                                 Texas Bar No. 00783996
                                                 515 Rusk, Suite 3516
                                                 Houston, TX 77002
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                                                 Fax: (713) 718-4670




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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by electronic means
on all PACER participants on this 31st day of May, 2018.

                                              /s/ Hector Duran
                                              Hector Duran, Trial Attorney




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